       CASE 0:10-cr-00339-PJS-ECW              Doc. 462       Filed 11/07/12      Page 1 of 3




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                                  Case No. 10-CR-0339(8) (PJS/JJK)
                                                             Case No. 12-CV-2677 (PJS)
                         Plaintiff,

 v.                                                                     ORDER

 JAVIER ENRIQUE TORRES,

                         Defendant.

       Javier Enrique Torres, defendant pro se.

       Defendant Javier Torres pleaded guilty to one count of conspiracy to distribute narcotics

and was sentenced to 58 months in prison and 2 years of supervised release. ECF Nos. 360, 413.

Torres did not file a direct appeal.

       This matter is before the Court on Torres’s motion, pursuant to 28 U.S.C. § 2255, to

vacate, set aside, or correct his sentence. For the reasons stated below, the motion is denied.

Because the record conclusively demonstrates that Torres is not entitled to relief, no hearing is

necessary. 28 U.S.C. § 2255(b); Noe v. United States, 601 F.3d 784, 792 (8th Cir. 2010).

       Torres alleges that he received ineffective assistance of counsel. Specifically, Torres

claims that his counsel should have objected to the entry of judgment because there was an

insufficient factual basis for his guilty plea and that his counsel failed to argue that there was

insufficient evidence to convict him of conspiracy. If his counsel had raised these claims, Torres

argues, the Court would likely have dismissed the conspiracy charge. In addition, Torres claims

that neither his attorney nor the Court apprised him of the nature of the conspiracy charge.

       These allegations are meritless. At Torres’s change-of-plea hearing, the government

described the evidence against Torres, which included text messages and phone calls of Torres
       CASE 0:10-cr-00339-PJS-ECW               Doc. 462      Filed 11/07/12       Page 2 of 3




negotiating drug transactions and Torres’s fingerprints on both sides of tape that was wrapped

around cash found in a hidden compartment in a car. The government also explained that two of

Torres’s codefendants would implicate Torres as both a seller of drugs and a courier who brought

drugs from out of state. In addition, Torres himself admitted that he entered into a conspiracy to

distribute drugs, that he drove a vehicle to Minnesota knowing that the vehicle likely contained

drugs, and that he helped to conceal cash wrapped in duct tape by carrying it to a garage. Finally,

Torres signed a plea agreement agreeing that he knowingly and intentionally conspired with

others to distribute drugs. There was a sufficient factual basis for Torres’s guilty plea, and

Torres’s counsel was not ineffective for failing to argue otherwise. In addition, Torres does not

claim that, but for the alleged ineffective assistance, he would have gone to trial. This alone bars

his claim. See Watson v. United States, 682 F.3d 740, 745 (8th Cir. 2012) (in order to establish

prejudice in the guilty-plea context, a defendant must establish a reasonable probability that he

would have exercised his right to trial but for his counsel’s ineffectiveness).

       Similarly without merit is Torres’s claim that his counsel was ineffective for failing to get

the indictment dismissed on the basis of insufficient evidence. “It has long been settled that an

indictment is not open to challenge on the ground that there was inadequate or insufficient

evidence before the grand jury.” United States v. Nelson, 165 F.3d 1180, 1182 (8th Cir. 1999);

see also Costello v. United States, 350 U.S. 359, 363 (1956) (“An indictment returned by a

legally constituted and unbiased grand jury, like an information drawn by the prosecutor, if valid

on its face, is enough to call for trial of the charge on the merits.” (footnote omitted)).

       Finally, Torres’s claim that his counsel was ineffective because he failed to explain the

conspiracy charge to Torres is meritless, and Torres’s claim that the Court likewise failed to


                                                  -2-
      CASE 0:10-cr-00339-PJS-ECW               Doc. 462      Filed 11/07/12        Page 3 of 3




explain the charge is simply false. The Court described the elements of the conspiracy charge to

Torres at his change-of-plea hearing, and, before pleading guilty to that charge, Torres affirmed

that he understood the charge. It thus does not matter whether Torres’s counsel also explained

the same conspiracy charge to Torres. Moreover, as with his other claims, Torres does not claim

that he would have gone to trial but for this alleged ineffectiveness. See Watson, 682 F.3d

at 745. Torres’s § 2255 motion is therefore denied.

                                              ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.      Defendant’s motion to vacate, set aside, or correct his sentence under 28 U.S.C.

               § 2255 [ECF No. 455] is DENIED.

       2.      No certificate of appealability will issue.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

 Dated: November 7 , 2012                           s/Patrick J. Schiltz
                                                    Patrick J. Schiltz
                                                    United States District Judge




                                                 -3-
